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AAS:DKK/ICR/FJN


UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                COMPLAINT AND
                                                        AFFIDAVIT IN SUPPORT
           - against -                                  OF APPLICATION FOR
                                                        ARREST WARRANT
BRENDAN HUNT,
    also known as “X-Ray Ultra,”                        (T. 18, U.S.C., § 115(a)(1)(B))

                         Defendant.                     Docket No. 21-MJ- 57 M

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EASTERN DISTRICT OF NEW YORK, SS:

               ERICA DOBIN, being duly sworn, deposes and states that she is a Special

Agent with the Federal Bureau of Investigation, duly appointed according to law and acting as

such.

               On or about and between December 6, 2020, and January 12, 2021, both dates

being approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendant BRENDAN HUNT, also known as “X-Ray Ultra,” did knowingly and intentionally

threaten to murder a United States official, with intent to impede, intimidate, and interfere with

such official while engaged in the performance of official duties, and with intent to retaliate

against such official on account of the performance of official duties.

               (Title 18, United States Code, Section 115(a)(1)(B))
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              The source of your deponent’s information and the grounds for her belief are as

follows: 1

              1.      I have served as a Special Agent with the Federal Bureau of Investigation

(“FBI”) since 2019. I am currently assigned to the FBI’s New York Joint Terrorism Task

Force, where I am responsible for conducting investigations involving domestic terrorism and

threats to government officials, among other matters. Prior to my time with the FBI, I spent

over six years working at the New York City Police Department’s Intelligence Bureau, where

I worked on counterterrorism investigations. I am familiar with the facts and circumstances

set forth below from my participation in the investigation; my review of the investigative file;

and from reports of other law enforcement officers involved in the investigation.

              2.      The defendant BRENDANT HUNT is a resident of Ridgewood, Queens.

HUNT is a part-time actor and filmmaker, and a full-time employee of the New York State

Office of Court Administration. On the Internet, HUNT uses the alias “X-Ray Ultra,” which

he uses to post content to various social media accounts. The website for “X-Ray Ultra

Studios” includes a photograph of HUNT and includes links to, among others, Facebook and

Bitchute accounts under the names “xrayultra.”

              3.      As detailed in this Affidavit, between on or about December 6, 2020, and

January 12, 2021, HUNT made a series of posts on various social media websites in which he

threatened, or incited others, to murder members of Congress who were engaged in the




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              Because the purpose of this Complaint is to set forth only those facts necessary
to establish probable cause to arrest, I have not described all the relevant facts and
circumstances of which I am aware.
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performance of their official duties and in retaliation for such officials’ performance of their

official duties.

               4.     On or about December 6, 2020, HUNT posted the following message

using his “HuntBrendan” Facebook account, which according to information provided by

Facebook, is the administrator account for HUNT’s “xrayultra” Facebook account:

               Trump, we want actual revenge on democrats. Meaning, we want
               you to hold a public execution of pelosi aoc schumer etc. And if
               you dont do it, the citizenry will. We're not voting in another
               rigged election. Start up the firing squads, mow down these
               commies, and lets take america back!

I believe that the reference to “pelosi” is a reference to the Honorable Nancy Pelosi, Speaker

of the House of Representatives; the reference to “aoc” is a reference to Representative

Alexandria Ocasio-Cortez, who represents New York’s 14th Congressional District in the

House of Representatives; and the reference to “schumer” is a reference to Senate Minority

Leader and New York Senator Charles E. Schumer.

               5.     On or about December 6, 2020, HUNT posted the following message

using his “HuntBrendan” Facebook account, in response to a New York Daily News article

about a Staten Island resident who allegedly used his vehicle to run over a law enforcement

officer who had come to arrest the resident for violating New York City regulations to control

the COVID-19 pandemic:

               Fuck the lockdown po-lice! Yeah booiii run those pigs over!
               Anyone enforcing this lockdown mask vaccine bullshit deserves
               nothing less than a bullet in their fucking head! Including cops!
               If you're going to shoot someone tho, go after a high value target
               like pelosi schumer or AOC. They really need to be put down.
               These commies will see death before they see us surrender!
               USA!!
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I believe that the phrase “pelosi schumer or AOC” is another reference to Speaker Nancy

Pelosi, Senator Charles E. Schumer, and Representative Alexandria Ocasio-Cortez.

              6.      Based on my review of public news reports, I know that on January 6,

2021, a group of individuals purporting to protest the 2020 Presidential Election gathered in

Washington, D.C., and stormed the U.S. Capitol. The group breached the Capitol, assaulting

law enforcement officers and damaging federal property. The group occupied the Capitol and

disrupted the certification of election results by the United States Congress for a period of

several hours. Members of Congress sheltered in place during the occupation. Multiple

individuals have been arrested in connection with these events for offenses including illegal

weapons possession. I understand that the January 6, 2021, purported protest event was

promoted in advance online, that the group included many individuals who traveled interstate

to Washington, D.C. for this event, and that members of the group coordinated their activities

using various social media platforms, including Parler.

              7.      On or about January 8, 2021—two days after the riot at the Capitol—the

“xrayultra” account on the video-sharing Internet site Bitchute posted an 88-second video titled

“KILL YOUR SENATORS” that included the summary “Slaughter them all.” The video

depicts HUNT speaking directly to the camera. During the video, HUNT says, in relevant

part:

              We need to go back to the U.S. Capitol when all of the Senators
              and a lot of the Representatives are back there, and this time we
              have to show up with our guns. And we need to slaughter these
              motherfuckers . . . [O]ur government at this point is basically a
              handful of traitors . . . so what you need to do is take up arms, get
              to D.C., probably the inauguration . . . so called inauguration of
              this motherfucking communist Joe Biden . . . [T]hat’s probably
              the best time to do this, get your guns, show up to D.C., and
              literally just spray these motherfuckers . . . like, that’s the only
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              option . . . [T]hey’re gonna come after us, they’re gonna kill us,
              so we have to kill them first . . . [S]o get your guns, show up to
              D.C., put some bullets in their fucking heads. If anybody has a
              gun, give me it, I’ll go there myself and shoot them and kill them
              . . . [W]e have to take out these Senators and then replace them
              with actual patriots . . . [T]his is a ZOG government . . . [T]hat’s
              basically all I have to say, but take up arms against them. 2

              8.      I have compared other photographic depictions known to be of HUNT,

including photographs taken by New York State agencies of HUNT, and recent photographs

taken by law enforcement personnel conducting physical surveillance of HUNT, to the image

of the person depicted in the Bitchute video, and the person in the video appears to be HUNT.

HUNT’s assertion that “[w]e need to go back to the U.S. Capitol” appears to refer to the

January 6, 2021 assault on the U.S. Capitol.       Similarly, his reference to the “so called

inauguration of this motherfucking communist Joe Biden,” appears to refer to the January 20,

2021, inauguration of President-elect Joseph R. Biden Jr. as President of the United States.

              9.      According to records obtained in this investigation, a phone registered to

HUNT was located at or near his residence in Queens, New York, on January 8, 2021, when

the “KILL YOUR SENATORS” video was uploaded to Bitchute.

              10.     On or about January 12, 2021, an account on the social media website

Parler named “@GenFlynn” posted a message that read, in part, “America fought a good fight.

Our great Country is resilient & we will get thru this difficult time. Acting responsibly at this

moment is what all Americans must do. During the past 4 tough years, I found faith, family

and true friends . . . .” I believe that “@GenFlynn” refers to former National Security Advisor

Michael Flynn, who called on supporters of President Trump to protest on January 6, 2021.


       2
             I understand that “ZOG” is a white-supremacist acronym for the phrase “Zionist
occupied government.”
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